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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

ANNA MATHAI                                     CIVIL ACTION

VERSUS                                          NO: 12-2778

BOARD OF SUPERVISORS OF                         SECTION: R
LOUISIANA STATE UNIVERSITY
AND AGRICULTURAL AND
MECHANICAL COLLEGE AND STEVE
NELSON


                               JUDGMENT

     Considering the Court’s order and reasons on file herein,

     IT IS ORDERED, ADJUDGED AND DECREED that plaintiff’s § 1983

claims against the LSU Board of Supervisors and Dr. Nelson (both

in his official and individual capacity), as well as plaintiff's

breach of contract claim against both defendants are hereby

DISMISSED.

         New Orleans, Louisiana, this 23rd
                                       __ day of July, 2013.



                 _________________________________

                            SARAH S. VANCE

                   UNITED STATES DISTRICT JUDGE
